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Summary of Deposit Sources
Ian B. Freeman
Santander Bank CHK 9819
Time Period: August 2020 ‐ February 2021
Deposit Source                                           Count Total Deposited   Percentage of Total
B        ,L                                                1           $1,800.00        0.11%
Capital One                                                2               $0.20        0.00%
C ,K        K.                                             4          $28,995.00        1.85%
Item Missing                                               3          $22,557.50        1.44%
Maker Unknown                                              2         $284,941.58       18.18%
M     ,K                                                   6         $447,144.00       28.53%
N       ,N                                                 2         $310,704.00       19.83%
PayPal                                                     2               $0.16        0.00%
Transfer CHK 2523 (Ian B. Freeman DBA NH Peace Church)     4         $471,000.00       30.05%
Grand Total                                               26      $1,567,142.44       100.00%




Summary of Payees
Ian B. Freeman
Santander Bank CHK 9819
Time Period: August 2020 ‐ February 2021
Payee                                                    Count     Total Paid    Percentage of Total
Bank Fee                                                  25            ‐$490.00        0.03%
BC Exchange                                                8      ‐$1,335,000.00       85.19%
Closing Transaction Withdrawal                             1         ‐$20,652.28        1.32%
Freeman, Ian                                               4         ‐$11,000.00        0.70%
Freeman, Ian B.                                            1         ‐$50,000.00        3.19%
Legal Tender Services PLLC                                 4        ‐$145,000.00        9.25%
NH Peace Church                                            1          ‐$5,000.00        0.32%
PayPal                                                     1              ‐$0.16       0.00%
Grand Total                                               45      ‐$1,567,142.44      100.00%




as of November 19, 2022
